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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  SANTANA WYGANT,

               Petitioner,

  v.                               //        CIVIL ACTION NO. 1:12CV163
                                                  (Judge Keeley)
                                             Criminal No. 1:08-cr-78-26
  UNITED STATES OF AMERICA,

               Respondent.


                  ORDER ADOPTING REPORT AND RECOMMENDATION

         On October 22, 2012, the pro se petitioner, Santana Wygant

  (“Wygant”), filed a petition for habeas corpus pursuant to 28

  U.S.C. § 2255. (Dkt. No. 1). The Court referred this matter to

  United States Magistrate Judge John S. Kaull for initial screening

  and a report and recommendation in accordance with LR PL P 2. Upon

  a preliminary review of the petition, Magistrate Judge Kaull found

  that it was time-barred on its face, having been filed more than

  two years after the one-year statute of limitations had expired.

  See 28 U.S.C. § 2255(f)(1). Accordingly, the magistrate judge

  issued a Hill v. Braxton1 notice to Wygant on November 15, 2012,

  advising     him   that    his    case   would   be   dismissed   unless   he

  demonstrated within twenty-one (21) days that his motion was

  timely. (Dkt. No. 6). Wygant filed a response on November 30, 2012,

  arguing generally that he should be allowed to proceed because his

  counsel was ineffective at his sentencing. (Dkt. No. 8).



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      277 F.3d 701, 707 (4th Cir. 2002).
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        On May 21, 2013, Magistrate Judge Kaull issued an Opinion and

  Report and Recommendation (“R&R”), in which he recommended that

  Wygant’s    petition    be   denied    as   untimely.   (Dkt.     No.   9).   He

  determined that Wygant had failed to provide any grounds for

  equitable    tolling    of   the   limitations    period   or,    indeed,     any

  explanation whatsoever for his delay. Wygant filed objections to

  the R&R on June 11, 2013, in which he once again argued generally

  that his counsel was ineffective with respect to his guilty plea

  and sentencing. (Dkt. No. 12). His objections consist primarily of

  explanations     of    the   various    legal    principles      attendant    to

  ineffective assistance of counsel claims and do not address any of

  the timeliness concerns raised in the Hill v. Braxton notice and

  the R&R.

         The statute of limitations for Wygant’s petition expired on

  September 30, 2010, one year after his judgment of conviction

  became final. 28 U.S.C. § 2255(f)(1); see Clay v. United States,

  537 U.S. 522, 525 (2003). He did not file the instant petition

  until October 22, 2012. Upon de novo review of the issues raised,

  the Court agrees with the magistrate judge that Wygant has failed

  to show that he is entitled to equitable tolling or that his

  petition is otherwise timely. Consequently, the Court:

        1.    ADOPTS the R&R in its entirety (dkt. no. 9);




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        2.    DENIES the instant § 2255 petition as untimely (dkt. no.

              1); and

        3.    ORDERS that this case be DISMISSED WITH PREJUDICE and

              STRICKEN from the Court’s docket.

        Further, finding no issue of constitutional merit upon which

  reasonable jurists might differ, the Court DENIES a certificate of

  appealability in this matter. See Rule 11(a), Rules Governing

  Section 2254 and 2255 Cases.

        It is so ORDERED.

        Pursuant to Fed. R. Civ. P. 58, the Court directs the Clerk of

  the Court to enter a separate judgment order and to transmit copies

  of both orders to counsel of record and to the pro se plaintiff,

  certified mail, return receipt requested.

        DATED: July 30, 2013.



                                            /s/ Irene M. Keeley
                                            IRENE M. KEELEY
                                            UNITED STATES DISTRICT JUDGE




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